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                                                               UNITED STATES DISTRICT COURT

                                                                                   DISTRICT OF MAINE


 UNITED STATES OF AMERICA,                                                                                                         )
                                                                                                                                   )
                   v.                                                                                                              )                  Criminal Number
                                                                                                                                   )                  19-201-JDL
 ANTHONY JONES.                                                                                                                    )

                                                               MOTION TO SUPPRESS EVIDENCE

          I.                 BACKGROUND

          On September 30, 2019, at about 6:10 P.M., Mr. Jones was operating a vehicle on the

 Maine Turnpike, headed northbound. A female passenger accompanied Mr. Jones. The

 vehicle, a Jeep Grand Cherokee, had an expired inspection sticker.

          Maine State Trooper Darcy spotted the expired inspection sticker as he was passing

 the vehicle, and initiated a traffic stop, presumably to address the expired inspection

 sticker. Mr. Jones engaged his right directional signal and immediately pulled the vehicle

 over in the right breakdown lane.

          Trooper Darcy approached the vehicle from the passenger side and requested Mr.

 Jones’ license. While he was receiving the documents, the Trooper told Mr. Jones that he

 needed to get that inspection sticker dealt with. Immediately thereafter, Trooper Darcy

 ordered Mr. Jones to exit the vehicle.1 Once out of the vehicle, Trooper Darcy first patted

 Mr. Jones down. He then began interrogating Mr. Jones about his driving history,

 whether he had ever been arrested, and where he was coming from.



 	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
 1	  In his report, the Trooper claims that he “asked Jones if he minded stepping out of the

 vehicle to speak with me and he agreed.” This was a gross misrepresentation of the facts.
 On the video, the Trooper can clearly be heard commanding Mr. Jones to exit the vehicle.
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          After interrogating Mr. Jones, Trooper Darcy proceeded back to the vehicle and

 began interrogating the female passenger, asking basically the same questions that he

 asked Mr. Jones, although he asked her in addition, about how many outfits she brought

 with her for a weekend visit to New York.

          Both Mr. Jones and his passenger told the Trooper that they had been in New York

 for the weekend. Mr. Jones told the Trooper that he stopped in Fitchburg, MA on the way

 back to see a friend. The passenger did not indicate that they stopped to see anyone.

 When pressed, Mr. Jones was not sure what town he stopped in and clarified that he

 arranged to meet his friend at a gas station.

          Once Trooper Darcy was finished interrogating the passenger, he turned his attention

 back to Mr. Jones and directed him to stand next to the passenger side of the police

 cruiser. To this point, aside from telling Mr. Jones, when he made his initial contact with

 him, of the reason for the stop, there was no discussion of the expired inspection sticker.

          At about the four-minute mark of the stop, the Trooper told Mr. Jones to stand at the

 passenger window of the cruiser, and the interrogation continued. For the next several

 minutes the Trooper questioned Mr. Jones about where he had been and tells him

 repeatedly that his story about where he had been did not make sense. It is not clear

 during this segment of the video whether or not the Trooper was checking Mr. Jones’

 license and for warrants, as he was speaking to him,2while Mr. Jones was standing at the

 passenger side of the cruiser. When Mr. Jones attempted to have the Trooper focus on the

 inspection sticker issue, the Trooper resisted and continued to engage Mr. Jones in


 	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
 2	  The defense has requested dispatch logs in order to determine when the Trooper

 checked for warrants and Mr. Jones’ license. What has been provided as of the date of
 this writing is incomprehensible.
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 conversation about where he had been, repeatedly telling Mr. Jones that his story did not

 make sense.

     Approximately 10 minutes into the encounter, Trooper Darcy can be heard calling for

 the drug K-9 to come to the scene. He also tells Mr. Jones that “his license is good.”

 Nonetheless, he then continued to interrogate Mr. Jones about where he had been and

 who he had seen. Mr. Jones can be heard asking what the interrogation has to do with the

 reason for the traffic stop.

     Approximately 15 minutes into the stop, with still no effort, nor progress towards

 addressing the inspection sticker issue, Trooper Darcy went back to the female passenger

 and resumed his interrogation of her, the topics being her prior drug trafficking history

 and where they had been that day. He eventually ordered her to exit the vehicle. Once

 outside the vehicle Trooper Darcy ordered the passenger to stand next to the vehicle. As

 she stood next to the vehicle, Trooper Darcy walked around the vehicle, peering into the

 windows of the vehicle.

     Approximately 23 minutes into the encounter, a second Trooper appeared and began

 to search around the outside of the vehicle. Around this time, Mr. Jones asked the

 Trooper why he was being detained for the traffic violation. The Trooper responded to

 the effect that his story about where he had been did not make any sense. At no time up to

 this point was Mr. Jones told that he was free to leave, nor was he told that he was not

 being detained.

     For the next twenty minutes, approximately, there was some small talk between the

 Trooper and Mr. Jones. About 45 minutes into the encounter, the drug sniffing K-9

 arrives and is led around the vehicle. The drug K-9 allegedly alerted on various parts of
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 the vehicle, which caused the Troopers to search the vehicle. Inside the vehicle, the

 Troopers allegedly located heroin and cash.

     After the drugs and cash were found, Mr. Jones was officially placed under arrest. At

 this point, approximately an hour and 15 minutes had elapsed from the time of the stop.

     Subsequent to his official arrest, Mr. Jones admitted that he had drugs on his person

 and assisted the police in retrieving the drugs. He also made incriminating statements

 about the drugs found in the vehicle including that they were his drugs and that he sells

 drugs.



                                           ARGUMENT



     The Supreme Court in United States v. Caballes, 543 U.S. 405, 407 (2005), a dog

 sniff case, held that a dog sniff of the exterior of a vehicle does not violate the 4th

 amendment so long as the traffic stop is not prolonged past the time necessary to address

 the reason for the stop and to check certain unrelated issues that are ordinary to a traffic

 stop, such as checking the license of the driver and determining whether there are

 warrants for the driver or passenger. The Court reiterated this rule in Rodriguez v. United

 States, 135 S.Ct 1609, 1616 (2015). The Court there also specified that a dog sniff is a

 procedure aimed at ordinary criminal investigation and is not fairly characterized as part

 of an officer traffic mission. Id. at 1615. In essence, the law is that the police need to have

 reasonable suspicion of some other crime in order to prolong a traffic stop beyond the

 time necessary to deal with the traffic stop.
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        In this case, the Trooper knew as of about the 10-minute mark of the stop that Mr.

 Jones had a valid license and that he was not wanted. The traffic stop should have ended

 at that point. However, with absolutely no evidence that drug activity was afoot, Mr.

 Jones was detained for another approximately 35-minutes until the drug dog showed up.

    To meet the reasonable suspicion standard, the government must point to specific and

 articulable facts, together with inferences drawn from those facts, that reasonably suggest

 criminal activity has occurred or is imminent. Terry, 392 U.S. at 21. Inarticulate hunches

 or generalized suspicions are insufficient to meet this standard. See Ybarra v. Illinois, 444

 U.S. 85, 92-93 (1979).

    In this case, the Trooper claims that he had reasonable suspicion to extend the traffic

 stop based upon two things. First, he claims that the fact that the passenger had a prior

 drug conviction gave him reasonable, articulable suspicion for the detention. Second, he

 claims that the minor discrepancy between what Mr. Jones told him about where he had

 been, and what the passenger told him about where they had been, gave him reasonable

 suspicion that drug activity was going on. Neither of these facts, even when viewed

 collectively, gives rise to reasonable, articulable suspicion that Mr. Jones was committing

 a drug crime. Therefore, his prolonged detention was in violation of the 4th amendment.

 Accordingly, pursuant to the exclusionary rule, any evidence gathered as a result of the

 illegal search of Mr. Bruneau or his vehicle must be suppressed from evidence during the

 trial of this matter. Weeks v. United States, 232 U.S. 383, 398 (1914).

                                       CONCLUSION

        For the reasons stated above, Mr. Jones requests that any and all evidence

 gathered as a result of the dog sniff, including drugs found in the vehicle, drugs found on
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 Mr. Jones, and any statements made by Mr. Jones, be excluded from evidence during the

 trial of this matter.



                                                           /s/Peter E. Rodway, Esq.
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                                                           207-773-8449

                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF MAINE

         I hereby certify that on November 12, 2019, I electronically filed Motion to
 Suppress with the Clerk of The Court using the CM/ECF system which will send
 notification of such filing to Assistant United States Attorney Meghan Connelly, Esq.,
 and I hereby certify that on November 12, 2019, I mailed by U.S. Mail, the document to
 the following non-registered participant: Mr. Anthony Jones.


                                                           /s/Peter E. Rodway, Esq.
